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 1   BRUCE S. GELBER
 2
     Deputy Assistant Attorney General
     Environment and Natural Resources Division
 3   United States Department of Justice
     Washington, D.C. 20530
 4   BRADLEY R. O’BRIEN (CA Bar Number: 189425)
 5   Senior Attorney
     ANGELA MO (CA Bar Number: 262113)
 6   Trial Attorney
     Environmental Enforcement Section
 7   United States Department of Justice
 8   301 Howard Street, Suite 1050
     San Francisco, California 94105
 9   Tel: (415) 744-6484
10
     Tel: (202) 514-1707
     E-mail: brad.obrien@usdoj.gov
11   E-mail: angela.mo@usdoj.gov
     Counsel for Plaintiff United States of America
12
13                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA, and the PEOPLE                  Civil Action No.
15   OF THE STATE OF CALIFORNIA, ex rel.                       COMPLAINT FOR
     DEPARTMENT OF FISH AND WILDLIFE, PEOPLE                   RELIEF UNDER
16   OF THE STATE OF CALIFORNIA, ex rel. CENTRAL               FEDERAL
17   COAST REGIONAL WATER QUALITY CONTROL                      PIPELINE SAFETY
     BOARD, ex rel. CALIFORNIA DEPARTMENT OF                   LAWS; CLEAN
18   PARKS AND RECREATION, ex rel. CALIFORNIA                  WATER ACT; OIL
     STATE LANDS COMMISSION, ex rel.                           POLLUTION ACT;
19
     CALIFORNIA DEPARTMENT OF FORESTRY AND                     LEMPERT-KEENE-
20   FIRE PROTECTION’S OFFICE OF STATE FIRE                    SEASTRAND OIL
     MARSHAL, and THE REGENTS OF THE                           SPILL
21   UNIVERSITY OF CALIFORNIA,                                 PREVENTION AND
22
                 Plaintiffs,                                   RESPONSE ACT;
                                                               PORTER-COLOGNE
23
                               v.                              WATER
24                                                             POLLUTION
      PLAINS ALL AMERICAN PIPELINE, L.P. and                   CONTROL ACT;
25                                                             CALIFORNIA FISH
      PLAINS PIPELINE, L.P.,
26                                                             AND GAME CODE;
                 Defendants.                                   and ELDER
27                                                             CALIFORNIA
                                                               PIPELINE SAFETY
28                                                             ACT OF 1981


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 1   XAVIER BECERRA
     Attorney General of California
 2
     ERIC M. KATZ
 3   Supervising Deputy Attorney General
     MICHAEL ZARRO (CA Bar Number: 110171)
 4   JESSICA BARCLAY-STROBEL (CA Bar Number: 280361)
 5   Deputy Attorneys General
     300 South Spring Street, Suite 1702
 6   Los Angeles, California 90013
     Tel: (213) 269-6635
 7   E-mail: Jessica.BarclayStrobel@doj.ca.gov
 8   Counsel for Plaintiffs California Department of Fish and Wildlife, Central Coast
     Regional Water Quality Control Board, and California Department of Forestry
 9   and Fire Protection’s Office of State Fire Marshal
10
     XAVIER BECERRA
11   Attorney General of California
     CHRISTINA BULL ARNDT
12   Supervising Deputy Attorney General
13   NICOLE RINKE (CA Bar Number: 257510)
     MITCHELL E. RISHE (CA Bar Number: 193503)
14
     Deputy Attorney General
15   300 South Spring Street, Suite 1702
16   Los Angeles, California 90013
     Tel: (213) 269-6394
17   E-mail: Mitchell.Rishe@doj.ca.gov
18
     Counsel for Plaintiffs California Department of Parks and Recreation and
     California State Lands Commission
19
     MARGARET WU (CA Bar Number: 116588)
20   Deputy General Counsel
21   BARTON LOUNSBURY (CA Bar Number: 253895)
     Senior Counsel
22   University of California
     Office of the General Counsel
23   1111 Franklin Street, 8th Floor
24   Oakland, California 94607-5200
     Tel: (510) 987-9800
25   E-mail: barton.lounsbury@ucop.edu
     Counsel for Plaintiff The Regents of the University of California
26
27
28



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 1         Plaintiff the United States of America (“United States”), by the authority of
 2   the Attorney General of the United States and through the undersigned attorneys
 3   acting on behalf of the United States Department of Transportation, Pipeline and
 4   Hazardous Materials Safety Administration (“PHMSA”), United States
 5   Environmental Protection Agency (“EPA”), United States Department of the
 6   Interior (“DOI”), United States Department of Commerce on behalf of the
 7   National Oceanic and Atmospheric Administration (“NOAA”), and Plaintiff the
 8   People of the State of California, ex rel. Department of Fish and Wildlife
 9   (“CDFW”), ex rel. Central Coast Regional Water Quality Control Board
10   (“CCRWQCB”), ex rel. California Department of Parks and Recreation
11   (“CDPR”), ex rel. California State Lands Commission (“CSLC”), ex rel.
12   California Department of Forestry and Fire Protection’s Office of State Fire
13   Marshal (“OSFM”), as well as The Regents of the University of California
14   (“UC”), file this Complaint against Plains All American Pipeline, L.P. and Plains
15   Pipeline, L.P.
16                             NATURE OF THE ACTION
17         1.     This civil action is brought against Plains All American Pipeline,
18   L.P. (“Plains All American”) and Plains Pipeline, L.P. (jointly, “Plains”) relating
19   to the discharge of crude oil from Plains’ Line 901 pipeline (“Line 901”) that
20   began on or about May 19, 2015, on or near Refugio State Beach in Santa
21   Barbara County, California (“Refugio Incident”). At all relevant times, Plains
22   owned and operated Line 901.
23         2.     This civil action is also brought against Plains pursuant to the federal
24   Pipeline Safety Laws (“Pipeline Safety Laws”), 49 U.S.C. §§ 60101 et seq., and
25   associated regulations and orders; the Clean Water Act (“CWA”), 33 U.S.C.
26   §§ 1251 et seq., and associated regulations and orders; and the Oil Pollution Act
27   of 1990 (“OPA”), 33 U.S.C. §§ 2701 et seq., and associated regulations and
28   orders; the Lempert-Keene-Seastrand Oil Spill Prevention and Response Act
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 1   (“Lempert-Keene Act”), California Government Code §§ 8670.1 et seq., and
 2   associated regulations; the Porter-Cologne Water Pollution Control Act,
 3   California Water Code §§ 13350 and 13385; California Fish and Game Code
 4   §§ 2014, 5650, 5650.1, and 12016; and California Government Code § 51018.6.
 5         3.     This civil action seeks penalties, injunctive relief, natural resource
 6   damages and assessment costs, and other relief.
 7                            JURISDICTION AND VENUE
 8         4.     This Court has jurisdiction over the subject matter of this action and
 9   over the parties pursuant to Section 311(b)(7)(E) of the CWA, 33 U.S.C.
10   § 1321(b)(7)(E); Section 1017(b) of OPA, 33 U.S.C. § 2717(b); Sections 60120
11   and 60122 of the Pipeline Safety Laws, 49 U.S.C. §§ 60120 and 60122; and 28
12   U.S.C. §§ 1331, 1345, 1355, and 1367.
13         5.     Venue is proper in this District pursuant to Section 311(b)(7)(E) of
14   the CWA, 33 U.S.C. § 1321(b)(7)(E), Section 1017(b) of OPA, 33 U.S.C.
15   § 2717(b); Section 60120 of the Pipeline Safety Laws, 49 U.S.C. § 60120; and 28
16   U.S.C. §§ 1391 and 1395(a), because Plains does business in this District and
17   events or omissions giving rise to claims occurred in this District.
18    DEFENDANTS PLAINS ALL AMERICAN PIPELINE, L.P. AND PLAINS
19                                    PIPELINE, L.P.
20         6.     On information and belief, Plains Pipeline, L.P., is a limited
21   partnership with its principal place of business located in Houston, Texas, and at
22   all relevant times owned and operated Line 901 and the Line 903 pipeline (“Line
23   903”). Plains Pipeline, L.P., transacts business in the State of California. Plains
24   Pipeline, L.P., is a wholly-owned subsidiary of its parent entity, Plains All
25   American.
26         7.     On information and belief, Plains All American is a limited
27   partnership with its principal place of business located in Houston, Texas, and at
28   all relevant times owned and operated Line 901 and Line 903. Plains All
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 1   American has acted and acts on behalf of Plains Pipeline, L.P. for operations
 2   located in California. Plains All American has acted and acts on behalf of Plains
 3   Pipeline, L.P. for Lines 901 and 903, State of California intrastate pipelines, and
 4   national interstate pipelines. At the time of the Refugio Incident, Plains All
 5   American provided personnel and resources to participate in and contribute to the
 6   Refugio Incident response, and provided all points of contact during the response.
 7         8.      Until approximately February 2016, Plains owned and operated Line
 8   901 as an interstate pipeline, within the meaning of the Pipeline Safety Laws,
 9   under a 1987 Federal Energy Regulatory Commission certificate. Since about
10   February 2016 through the present, Plains owns and operates Line 901 as an
11   intrastate pipeline within the meaning of California Government Code Section
12   51010.5(a).
13         9.      Until approximately April 2016, Plains owned and operated Line
14   903 as an interstate pipeline, within the meaning of the Pipeline Safety Laws,
15   under a 1987 Federal Energy Regulatory Commission certificate. Since about
16   April 2016 through the present, Plains owns and operates Line 903 as an
17   intrastate pipeline within the meaning of California Government Code Section
18   51010.5(a).
19         10.     On information and belief, at all times relevant to this Complaint,
20   Defendants were agents, partners, employees, representatives, subsidiaries,
21   parents, or affiliates of one another, and in doing the things alleged herein were
22   acting within the course and scope of such position or positions, were acting with
23   the knowledge, permission, approval and consent of each other, and were
24   intending to act in furtherance of each other’s endeavors as alleged herein.
25                                    BACKGROUND
26   A.    THE REFUGIO INCIDENT AND RESPONSE
27         11.     On or about May 19, 2015, Line 901 ruptured and discharged at
28   least 2,934 barrels of heavy crude oil that discharged through a nearby storm
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 1   drain or culvert (“Culvert”) to Refugio State Beach and then to the Pacific Ocean,
 2   where the Refugio Incident oil spread farther and impacted numerous shorelines,
 3   beaches, and other areas.
 4         12.    At the time of the Refugio Incident, Plains’ emergency and facility
 5   response plans did not account for or identify the Culvert. At the time of the
 6   Refugio Incident, Plains did not have a response strategy that identified or
 7   specifically considered the Culvert’s existence or location.
 8         13.    After discovery of the discharge of oil, Plains waited more than 80
 9   minutes before notifying the California Office of Emergency Services and waited
10   89 minutes before notifying the National Response Center.
11         14.    Line 901 and portions of Line 903 are in an area designated as a
12   “High Consequence Area” (“HCA”) under the Pipeline Safety Laws. The initial
13   Refugio Incident location is in a High Consequence Area under the Pipeline
14   Safety Laws, as defined in 49 C.F.R. § 195.450.
15         15.    Agencies of the United States and the State of California responded
16   to the Refugio Incident and incurred response, investigation, natural resource
17   injury assessment, and other costs.
18         16.    The Refugio Incident caused widespread oiling of the area
19   surrounding the ruptured Line 901, Pacific Ocean, shorelines, cliffs, beaches, and
20   other areas. The Refugio Incident caused concentrated oil, oil films, oil sheens,
21   and tar balls to adversely impact the Pacific Ocean, shorelines, beaches, cliffs,
22   and other areas.
23         17.    The Refugio Incident adversely impacted natural resources under the
24   trusteeship of the United States and state trustees CDFW, CDPR, CSLC, and UC,
25   such as living marine resources, including marine mammals and fish and their
26   living and non-living habitats, including vegetated rocky reef and other subtidal
27   habitats; seabirds; shoreline habitats; and other resources.
28

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 1         18.    The Refugio Incident adversely impacted migratory species, such as
 2   marine mammals and birds.
 3         19.    The Refugio Incident caused lost human use and enjoyment of
 4   natural resources, including: a) loss of camping trips; b) loss or impairment of
 5   non-camping shoreline recreation; c) loss or impairment of boating and offshore
 6   recreation; d) loss of recreational fishing; and e) loss or impairment of research,
 7   education, and outreach.
 8         20.    The Refugio Incident caused CDFW to enact closures for
 9   commercial and recreational fishing.
10         21.    State beaches and campgrounds in the vicinity of the Refugio
11   Incident were closed to the public for over two months during clean-up activities.
12   Oil released from the Refugio Incident soiled the entirety of the Refugio State
13   Beach coastline and large portions of El Capitan State Beach as well as other
14   state beaches. In addition to the damage caused by the oil itself, Refugio State
15   Beach suffered additional damage—including damage to CDPR real and personal
16   property—due to Refugio State Beach being used as a staging area for the oil
17   spill response.
18         22.    The Refugio Incident caused UC to close its Coal Oil Point Reserve
19   (“COPR”) for several weeks, preventing scheduled research and education
20   activities from taking place at COPR, while crews removed oil from habitats
21   along the shore and UC staff assessed the safety of the site for the otherwise
22   anticipated uses. During this time, the director of COPR observed significantly
23   oiled natural resources within the reserve, including both plant and animal
24   species. COPR is owned and managed by UC and functions as a critical site for
25   the study of coastal southern California habitats.
26   B.    PLAINS’ PIPELINES
27         23.    At the time of the Refugio Incident, Line 901 was a
28   24-inch-diameter, buried, insulated transmission pipeline extending
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 1   approximately 10.7 miles in length and transporting crude oil from Exxon
 2   Mobil’s storage tanks in Las Flores Canyon westward to Plains’ Gaviota
 3   Pumping Station. Line 901 runs parallel to the Pacific Ocean at the point of the
 4   Refugio Incident.
 5         24.    At all relevant times, Line 901 was owned and operated by Plains,
 6   and is currently owned by Plains but is not currently operational.
 7         25.    Line 901 joins with Line 903, which runs approximately 129 miles
 8   to Bakersfield, California. Line 903 is a 30-inch-diameter, buried, insulated
 9   transmission pipeline. At all relevant times, Line 903 was owned and operated
10   by Plains, and is currently owned and operated by Plains.
11         26.    Line 901 was constructed to transport heavy crude oil collected from
12   Santa Barbara area off-shore oil platforms along the coast line to the pump
13   station in Gaviota, California, and then to refineries in Bakersfield, California.
14   At the time of the Refugio Incident, Line 901 was coated with coal tar urethane to
15   help prevent corrosion, and with foam insulation and tape-wrap to maintain the
16   crude oil at an elevated temperature during transportation. At the time of the
17   Refugio Incident, “shrink wrap” sleeves, which provide a barrier between the
18   steel pipe and soil for corrosion prevention, were present at all the pipeline joints
19   on Line 901 and at multiple locations on Line 903.
20         27.    At all relevant times, Plains failed to operate and maintain Line 901
21   and Line 903 in a manner that would adequately detect, assess, and mitigate the
22   unique risks associated with external corrosion of Line 901 and Line 903.
23         28.    At all relevant times, Plains failed to operate and maintain Line 901
24   and Line 903 in a manner that would adequately detect, assess, and mitigate the
25   risks associated with the Refugio Incident.
26         29.    At all relevant times, Plains failed to operate Lines 901 and 903 in
27   conformance with the Pipeline Safety Laws.
28

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 1                                PLAINS’ OPERATIONS
 2         30.    PHMSA requires hazardous-liquid transmission pipeline operators,
 3   including Plains, to institute a comprehensive risk-management scheme known as
 4   “integrity management.” Each operator must determine whether all or portions
 5   of its transmission pipeline could potentially affect HCAs, i.e., those geographic
 6   areas where the consequences of a pipeline failure could potentially have
 7   significant adverse effects on people or unusually sensitive environmental areas.
 8   For pipelines in these “could-affect” areas, an operator must develop and follow
 9   an “Integrity Management Program” (“IMP”). At all relevant times, Plains failed
10   to develop and follow an IMP (“Plains’ IMP”) that complied with the Pipeline
11   Safety Laws.
12         31.    At all relevant times, Plains failed to have an oil-spill response plan
13   and to train employees in compliance with the Pipeline Safety Laws.
14         32.    At all relevant times, Plains failed to operate Plains’ Master Control
15   Room in Midland, Texas, from which it operated pipelines throughout the United
16   States, in a manner that should have promptly and effectively detected the
17   Refugio Incident when it occurred and shut down Line 901 in such a way that the
18   Refugio Incident could have been halted and the amount of crude oil released
19   during the Refugio Incident reduced. The operations in the Master Control Room
20   did not comply with Pipeline Safety Laws and further aggravated the
21   consequences of the Refugio Incident.
22         33.    Subsequent to the Refugio Incident, Plains violated the Pipeline
23   Safety Laws by failing to: a) conduct timely alcohol and drug tests of required
24   employees; b) undertake and/or provide to PHMSA a post-Refugio Incident
25   investigation and report; c) follow Plains’ written procedures for conducting
26   normal operations of Plains’ pipeline; and d) to maintain records relevant to
27   Plains’ operations.
28

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 1        PHMSA CORRECTIVE ACTION ORDER AND INVESTIGATION
 2            34.   On May 21, 2015, two days after the Refugio Incident, PHMSA
 3    issued to Plains a Corrective Action Order (“CAO”), followed by three
 4    amendments, and conducted an investigation to identify causal and contributing
 5    factors leading to the Refugio Incident and/or increasing its severity. CAO CPF
 6    No. 5-2015-5011H.
 7            35.   One year later, on May 19, 2016, PHMSA issued a Failure
 8    Investigation Report (“FIR”) describing the facts and circumstances surrounding
 9    the Refugio Incident, the emergency-response efforts, and the causes of the
10    Refugio Incident. The FIR described systemic deficiencies in Plains’ operations,
11    including, in part: a) ineffective protection against external corrosion on Line
12    901; b) a failure to detect and mitigate corrosion, whereby the in-line inspection
13    (“ILI”) tools and subsequent ILI data analyses performed by Plains failed to
14    accurately characterize the extent and depth of the external corrosion; c) a lack of
15    timely detection and response to the Refugio Incident; d) the lack of an adequate
16    oil-spill response plan, including a failure to identify the Culvert near the Refugio
17    Incident site that served as a pathway to the Pacific Ocean and other areas; and e)
18    a failure to develop and implement an adequate IMP under the Pipeline Safety
19    Laws.
20             PHMSA’S INFORMATION REQUESTS AND SUBPOENAS
21            36.   Following the Refugio Incident, PHMSA requested that Plains
22    provide certain information and documents relating to the Refugio Incident and
23    Plains’ pipeline operations, as set forth in three Requests for Information
24    (“PHMSA’s RFIs”) dated August 19, 2015; August 21, 2015; and September 1,
25    2016, respectively. Plains repeatedly failed to comply with PHMSA’s RFIs.
26            37.   Because Plains did not comply with PHMSA’s RFIs, on July 27,
27    2016, PHMSA issued a subpoena to Plains seeking compliance with the August
28    19 and August 21, 2015 RFIs. PHMSA subsequently modified the subpoena and
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 1    ordered Plains to provide the requested information and documents (“PHMSA’s
 2    First Subpoena”). On June 2, 2017, PHMSA issued a second subpoena to Plains
 3    seeking compliance with the September 1, 2016 RFI (“PHMSA’s Second
 4    Subpoena”).
 5          38.     Plains has not complied with PHMSA’s RFIs, PHMSA’s First
 6    Subpoena, or PHMSA’s Second Subpoena.
 7          39.     Plains’ continuing failure to comply with PHMSA’s RFIs,
 8    PHMSA’s First Subpoena, or PHMSA’s Second Subpoena has delayed and
 9    impeded, and continues to delay and impede, the United States’ Refugio Incident
10    investigation.
11                STATUTORY AND REGULATION BACKGROUND
12    A.    CLEAN WATER ACT
13          40.     The CWA, inter alia, prohibits discharges of oil into waters of the
14    United States, which includes the Pacific Ocean near Refugio State Beach,
15    adjoining shorelines and other impacted areas.
16          41.     Pursuant to Section 311(b)(7)(A) of the CWA (adjusted for inflation
17    by 40 C.F.R. § 19.4), each violation of the CWA occurring between January 12,
18    2009 and November 2, 2015, is subject to a civil penalty of up to $37,500 per day
19    or up to $2,100 per barrel of oil discharged. Pursuant to Section 311(b)(7)(A) of
20    the CWA (adjusted for inflation by 40 C.F.R. § 19.4), each violation of Section
21    311(b)(3) occurring between January 12, 2009 and November 2, 2015, that is the
22    result of gross negligence or willful misconduct is subject to a civil penalty of up
23    to $150,000 per day of the violation or $5,300 per barrel of oil discharged. 33
24    U.S.C. § 1321(b)(7)(A).
25    B.    OIL POLLUTION ACT
26          42.     OPA provides, inter alia, that each responsible party for a facility
27    from which oil is discharged, or which poses the substantial threat of a discharge
28    of oil, into or upon the navigable waters or adjoining shorelines or the exclusive
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 1    economic zone is strictly liable for the damages specified in OPA. 33 U.S.C.
 2    § 2702(a) and (b). Damages include, inter alia, damages for injury to,
 3    destruction of, loss of, or loss of use of, natural resources, including the
 4    reasonable costs of assessing the damage. 33 U.S.C. § 2702(b)(2)(A).
 5          43.    Natural resource damages include the cost of restoration,
 6    replacement, rehabilitation or acquisition of the equivalent of the injured natural
 7    resources.
 8          44.    OPA authorizes PHMSA, through the Department of Transportation,
 9    to issue civil penalties against any owner, operator, or person in charge of an
10    onshore oil pipeline who fails to comply with applicable regulations relating to
11    oil-spill response plans.
12    C.    LEMPERT-KEENE-SEASTRAND OIL SPILL PREVENTION AND
13    RESPONSE ACT
14          45.    The Lempert-Keene-Seastrand Oil Spill Prevention and Response
15    Act provides, inter alia, that a responsible party, as defined by the Act, shall be
16    absolutely liable without regard to fault for specified damages, that arise out of,
17    or are caused by, an oil spill. Cal. Gov. Code § 8670.56.5(a). Damages include,
18    inter alia, damages for injury to, destruction of or loss of, natural resources,
19    including, but not limited to, the reasonable costs of rehabilitating wildlife,
20    habitat, and other resources and the reasonable costs of assessing that injury,
21    destruction, or loss. Cal. Gov. Code § 8670.56.5(h)(3). Damages also include
22    damages for loss of use and enjoyment of natural resources, public beaches, and
23    other public resources or facilities. Cal. Gov. Code § 8670.56.5(h)(7).
24          46.    The Lempert-Keene-Seastrand Oil Spill Prevention and Response
25    Act authorizes imposition of civil penalties against a person who is intentionally
26    or negligently responsible for an oil spill and/or who intentionally or negligently
27    violates any provision of the Lempert-Keene-Seastrand Oil Spill Prevention and
28

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 1    Response Act or regulations adopted thereunder, through a civil action brought
 2    by the Attorney General ex rel. CDFW.
 3    D.    THE PORTER-COLOGNE WATER QUALITY CONTROL ACT
 4          47.    The Porter-Cologne Water Quality Control Act establishes a
 5    comprehensive program to protect water quality and the beneficial uses of water
 6    in California. The State Water Resources Control Board and nine California
 7    Regional Water Quality Control Boards have primary responsibility for
 8    implementing and enforcing the Porter-Cologne Water Quality Act.
 9          48.    The Porter-Cologne Water Quality Control Act, inter alia, prohibits
10    the deposit of oil or any petroleum residuary product to waters of the state, which
11    includes the Pacific Ocean near Refugio State Beach, adjoining shorelines and
12    other impacted areas. Pursuant to California Water Code Section 13350, each
13    violation of that prohibition is subject to a civil penalty of up to $15,000 per day
14    or up to $20 per gallon of oil or petroleum residuary product discharged. Cal.
15    Wat. Code § 13350(d).
16          49.    The Porter-Cologne Water Quality Control Act requires each
17    regional board to formulate and adopt water quality control plans for all areas
18    within the region. Cal. Wat. Code § 13240. The Porter-Cologne Water Quality
19    Control Act provides authority to a regional board to prohibit the discharge of
20    waste under certain conditions or in certain areas in a water quality control plan.
21    Cal. Wat. Code § 13243. Pursuant to California Water Code Section 13385, each
22    violation of such a prohibition is subject to a civil penalty of up to $25,000 per
23    day and up to $25 per gallon for every gallon discharged but not cleaned up that
24    exceeds 1,000 gallons.
25    E.    THE FISH AND GAME CODE
26          50.    The Fish and Game Code and regulations adopted thereunder
27    address the conservation, protection, and management of California’s fish and
28    wildlife resources and their habitat.
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                            Plains All American Pipeline, L.P. and Plains Pipeline, L.P.
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 1          51.    The Fish and Game Code, inter alia, authorizes CDFW to impose
 2    civil penalties upon any person who unlawfully deposits petroleum in waters of
 3    the state or places petroleum in a location where it can pass into waters of the
 4    state. The Fish and Game Code also authorizes CDFW to recover damages from
 5    any person who discharges or deposits any substance or material deleterious to
 6    fish, plant, bird, or animal life or their habitat in waters of the state, and/or from
 7    any person who unlawfully or negligently takes or destroys any bird, mammal,
 8    fish, reptile, or amphibian protected by the laws of the State of California.
 9    F.    THE PIPELINE SAFETY LAWS
10          52.    The Pipeline Safety Laws ensure the safety of hazardous liquid
11    pipelines incidental to transportation through compliance with minimum
12    standards governing the design, construction, operation and maintenance of such
13    pipelines.
14          53.    The Pipeline Safety Laws require, inter alia, that Plains develop,
15    implement, and follow a comprehensive IMP for those portions of Lines 901 and
16    903 located in HCAs or HCA “could affect” areas. 49 C.F.R. § 195.452. Plains
17    also is required to develop, implement, and follow an IMP for other pipeline
18    segments located in or that could affect HCAs, as defined in 49 C.F.R. § 195.450.
19    This IMP must then identify, prioritize, and address the unique integrity threats
20    faced by each pipeline segment throughout Plains’ system and reassess each
21    segment at appropriate intervals. The IMP requirements are generally described
22    in 49 C.F.R. § 195.452.
23          54.    The Pipeline Safety Laws impose, inter alia, requirements on Plains’
24    daily operations and include additional specific requirements relating to unsafe
25    conditions and emergencies.
26          55.    The Pipeline Safety Laws provide authorities and sanctions for
27    achieving and maintaining pipeline safety and compliance. 49 U.S.C.
28    § 60120(a)(1). For the Pipeline Safety Law violations occurring after August 1,
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 1    2016, Plains is subject to an administrative civil penalty not to exceed $205,638
 2    per violation per day. These amounts are adjusted annually for inflation. 49
 3    C.F.R. § 190.223. For violations occurring between January 4, 2012, and August
 4    1, 2016, Plains is subject to an administrative civil penalty not to exceed
 5    $200,000 per violation per day. 49 U.S.C. § 60122.
 6          56.    The maximum amount of civil penalties that can be imposed
 7    administratively by PHMSA for violations of the Pipeline Safety Laws under 49
 8    U.S.C. § 60122 does not apply in a judicial action. 49 U.S.C. § 60120(a)(1). The
 9    Pipeline Safety Laws authorize the United States to seek injunctive relief. 49
10    U.S.C. § 60120.
11    G.    ELDER CALIFORNIA PIPELINE SAFETY ACT OF 1981
12          57.    The Elder California Pipeline Safety Act of 1981 authorizes OSFM
13    to exercise regulatory and enforcement authority over intrastate pipelines and, in
14    certain circumstances, to implement federal pipeline safety regulations as to those
15    portions of interstate pipelines located within the State of California. The Elder
16    California Pipeline Safety Act of 1981 also provides for civil penalties for each
17    day that a violation persists.
18                                      COUNT ONE
19                           (Federal Clean Water Act – Penalties)
20          58.    Plaintiff the United States refers to and incorporates by reference as
21    though fully set forth herein each and every foregoing Paragraph of this
22    Complaint.
23          59.    The CWA prohibits the discharge of oil or hazardous substances into
24    or upon the navigable waters of the United States or adjoining shorelines in such
25    quantities as the President determines may be harmful to the public health or
26    welfare or environment of the United States. 33 U.S.C. § 1321(b).
27          60.    The CWA defines “discharge” to include any release, “leaking,
28    pumping, pouring, emitting, emptying or dumping,” except as specifically
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 1    excluded therein, 33 U.S.C. § 1321(a)(2); “oil” as “oil of any kind or in any form,
 2    including, but not limited to, petroleum, fuel oil, sludge, oil refuse, and oil mixed
 3    with wastes other than dredged spoil,” 33 U.S.C. § 1321(a)(1); and “navigable
 4    waters” as “the waters of the United States, including the territorial seas,” 33
 5    U.S.C. § 1362(7). For purposes of the Refugio Incident, the “navigable waters”
 6    described in this Paragraph include the Pacific Ocean near Refugio State Beach.
 7    Additionally, the Refugio Incident impacted adjoining shorelines to the Pacific
 8    Ocean.
 9          61.    Pursuant to Section 311(b)(4) of the CWA, 33 U.S.C. § 1321(b)(4),
10    EPA, acting through its delegated authority under Executive Order No. 12,777,
11    56 Fed. Reg. 54,757 (Oct. 18, 1991), has determined by regulation that
12    discharges of oil in such quantities as may be harmful to the public health or
13    welfare or environment of the United States include discharges of oil that “(a)
14    Violate applicable water quality standards; or (b) Cause a film or sheen upon or
15    discoloration of the surface of the water or adjoining shorelines or cause a sludge
16    or emulsion to be deposited beneath the surface of the water or upon adjoining
17    shorelines.” 40 C.F.R. § 110.3. The Refugio Incident discharged oil in such a
18    quantity to be harmful to the public health or welfare or environment of the
19    United States.
20          62.    Section 311(b)(7)(A) of the CWA, 33 U.S.C. § 1321(b)(7)(A),
21    provides that any person who is the owner, operator, or person in charge of an
22    onshore facility from which oil is discharged in violation of Section 311(b)(3) of
23    the CWA shall be subject to a civil penalty. At all relevant times, Plains was an
24    owner, an operator, and/or a person in charge of Line 901, an on-shore facility
25    from which oil was discharged in violation Section 311(b)(3) of the CWA. Id.
26          63.    Section 311(a) of the CWA defines “person” to include an
27    individual, firm, corporation, association, and a partnership, 33 U.S.C.
28    § 1321(a)(7); and “onshore facility” as “any facility (including, but not limited to,
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 1    motor vehicles and rolling stock) of any kind located in, on, or under, any land
 2    within the United States other than submerged land,” 33 U.S.C. § 1321(a)(10).
 3    Plains is a “person” under Section 311(a)(7) of the CWA. 33 U.S.C.
 4    § 1321(a)(7). Plains’ Line 901 and Plains’ Line 903 are onshore facilities
 5    pursuant to Section 311(a)(10) of the CWA. 33 U.S.C. § 1321(a)(10).
 6          64.    The Refugio Incident is a prohibited discharge for which Plains is
 7    strictly liable for civil penalties under the CWA.
 8                                       COUNT TWO
 9                (Federal Oil Pollution Act – Natural Resource Damages)
10          65.    Plaintiffs the United States, CDFW, and CDPR refer to and
11    incorporate by reference as though fully set forth herein each and every foregoing
12    Paragraph of this Complaint.
13          66.    Section 1002(a) of OPA, 33 U.S.C. § 2702(a), provides that “each
14    responsible party for . . . a facility from which oil is discharged, or which poses
15    the substantial threat of a discharge of oil, into or upon the navigable waters or
16    adjoining shorelines . . . is liable for the removal costs and damages specified in
17    [33 U.S.C. § 2702(b)] that result from such incident.” At all times material
18    herein, Plains’ Line 901 was a “facility from which oil is discharged” within the
19    meaning of OPA. 33 U.S.C. §§ 2701(9), 2702(a).
20          67.    Section 1001(32) of OPA, 33 U.S.C. § 2701(32)(F), defines
21    “responsible party” in the case of a pipeline to include “any person owning or
22    operating the pipeline.” At all relevant times, Plains was a “responsible party”
23    within the meaning of OPA. 33 U.S.C. § 2701(32)(F).
24          68.    Section 1001(24) of OPA, 33 U.S.C. § 2701(24), defines “onshore
25    facility” to mean “any facility . . . of any kind located in, on, or under, any land
26    within the United States other than submerged land.” At all relevant times, Line
27    901 was an “onshore facility” within the meaning of Section 1001(24) of OPA.
28    33 U.S.C. § 2701(24).
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 1          69.    Section 1001(9) of OPA, 33 U.S.C. § 2701(9), defines “facility” to
 2    mean “any structure, group of structures, equipment, or device (other than a
 3    vessel) which is used for one or more of the following purposes: exploring for,
 4    drilling for, producing, storing, handling, transferring, processing, or transporting
 5    oil.” At all relevant times, Line 901 was a “facility” within the meaning of
 6    Section 1009 of OPA. 33 U.S.C. § 2701(9).
 7          70.    Section 1001(27) of OPA, 33 U.S.C. § 2701(27), defines “person” to
 8    include an individual, corporation, partnership, or association. Plains was a
 9    person within the meaning of Section 1001(27) of OPA. 33 U.S.C. § 2701(27).
10          71.    Section 1001(23) of OPA, 33 U.S.C. § 2701(23), defines “oil” to
11    mean “oil of any kind or in any form, including petroleum, fuel oil, sludge, oil
12    refuse, and oil mixed with wastes other than dredged spoil . . . .”
13          72.    Section 1001(7) of OPA, 33 U.S.C. § 2701(7), defines “discharge”
14    to mean “any emission (other than natural seepage), intentional or unintentional,
15    and includes, but is not limited to, spilling, leaking, pumping, pouring, emitting,
16    emptying, or dumping.” The Refugio Incident is a discharge within the meaning
17    of Section 1001(7) of OPA. 33 U.S.C. § 2701(7).
18          73.    Section 1001(21) of OPA, 33 U.S.C. § 2701(21), defines “navigable
19    waters” as “the waters of the United States, including the territorial sea.” For
20    purposes of the Refugio Incident , the “navigable waters” and the “waters of the
21    United States” described in this Paragraph include the Pacific Ocean and are
22    within the meaning of Section 1001(21) of OPA. 33 U.S.C. § 2701(21).
23    Additionally, the Refugio Incident impacted adjoining shorelines to the Pacific
24    Ocean.
25          74.    Section 1002(b)(2)(A) of OPA, 33 U.S.C. § 2702(b)(2)(A), provides
26    that the “damages” referred to in Section 1002(a) of OPA, 33 U.S.C. § 2702(a),
27    include “[d]amages for injury to, destruction of, loss of, or loss of use of, natural
28    resources, including the reasonable costs of assessing the damage, which shall be
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 1    recoverable by a United States trustee, a State trustee, an Indian tribe trustee, or a
 2    foreign trustee.”
 3          75.    Section 1001(20) of OPA, 33 U.S.C. § 2701(20), provides that
 4    “natural resources” include “land, fish, wildlife, biota, air, water, ground water,
 5    drinking water supplies, and other such resources belonging to, managed by, held
 6    in trust by, appertaining to, or otherwise controlled by the United States
 7    (including the resources of the exclusive economic zone), any State or local
 8    government or Indian tribe, or any foreign government.”
 9          76.    Pursuant to Section 1006(b)(3) of OPA, 33 U.S.C. § 2706(b)(3), the
10    Governor of the State of California designated the Secretary of Resources as the
11    State trustee for natural resources within the purview of the California Natural
12    Resources Agency, for purposes of OPA. The Secretary for Natural Resources
13    delegated such trustee authority to CDFW for resources within CDFW’s purview
14    and to CDPR for resources within CDPR’s purview. Under California Fish and
15    Game Code Section 1802, CDFW is a trustee for “fish and wildlife resources”
16    and has “jurisdiction over the conservation, protection, and management of fish,
17    wildlife, native plants, and habitat necessary for biologically sustainable
18    populations of those species.” Under California Public Resources Code section
19    5001, CDPR is a trustee for the preservation and management of “state parks and
20    other nature, recreation, and historic areas.” Accordingly, the natural resources
21    injured, destroyed, and/or lost as a result of the Refugio Incident are held in trust
22    by CDFW and CDPR as California’s designated state trustees within the meaning
23    of Section 1006(b) of OPA.
24          77.    Pursuant to Section 1006(b)(3) of OPA, 33 U.S.C. § 2706(b)(3), and
25    40 C.F.R. Part 300, subpart G, DOI and NOAA serve as trustees for natural
26    resources for the assessment and recovery of damages for injury to, destruction
27    of, loss of, impairment, and loss of use of natural resources and the services
28    provided by those resources under their trusteeship. Accordingly, the natural
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 1    resources injured, destroyed, and/or lost as a result of the Refugio Incident are
 2    held in trust by DOI and NOAA as the designated federal trustees within the
 3    meaning of Section 1006(b) of OPA.
 4          78.    As a result of the Refugio Incident, the United States, CDFW, and
 5    CDPR sustained “damages,” as that term is defined in 33 U.S.C. § 2702(b)(2)(A)
 6    for, inter alia, injuries to, destruction of, and loss of natural resources, including
 7    the reasonable costs of assessing the damage. 33 U.S.C. 2702(b)(2)(A).
 8          79.    Plains is liable to the United States, CDFW, and CDPR for
 9    “damages” within the meaning of OPA.
10                                      COUNT THREE
11      (Federal Oil Pollution Act – Property Damage and Lost Revenue and Profits)
12          80.    Plaintiff CDPR refers to and incorporates by reference as though
13    fully set forth herein each and every foregoing Paragraph of this Complaint.
14          81.    Section 1002(b)(2)(B) of OPA, 33 U.S.C. § 2702(b)(2)(B), provides
15    that the “damages” referred to in Section 1002(a) of OPA, 33 U.S.C. § 2702(a),
16    include “[d]amages for injury to, or economic losses resulting from destruction
17    of, real or personal property, which shall be recoverable by a claimant who owns
18    or leases that property.”
19          82.    Section 1002(b)(2)(D) of OPA, 33 U.S.C. § 2702(b)(2)(D), provides
20    that the “damages” referred to in Section 1002(a) of OPA, 33 U.S.C. § 2702(a),
21    include “[d]amages equal to the net loss of taxes, royalties, rents, fees, or net
22    profit shares due to the injury, destruction, or loss of real property, personal
23    property, or natural resources, which shall be recoverable by the Government of
24    the United States, a State, or a political subdivision thereof.”
25          83.    Section 1002(b)(2)(E) of OPA, 33 U.S.C. § 2702(b)(2)(E), provides
26    that the “damages” referred to in Section 1002(a) of OPA, 33 U.S.C. § 2702(a),
27    include “[d]amages equal to the loss of profits or impairment of earning capacity
28

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 1    due to the injury, destruction, or loss of real property, personal property, or
 2    natural resources, which shall be recoverable by any claimant.”
 3          84.    As a result of the Refugio Incident, the CDPR sustained “damages,”
 4    as that term is defined in 33 U.S.C. § 2702(b)(2)(B)-(F) for, inter alia, for lost
 5    revenues and/or lost profits resulting from the closure of CDPR state beaches,
 6    including Refugio State Beach and El Capitan State Beach, as well as the
 7    destruction of CDPR property. 33 U.S.C. 2702(b)(2)(B)-(F).
 8          85.    Plains is liable to CDPR for “damages” within the meaning of OPA.
 9                                      COUNT FOUR
10      (Damages Under Lempert-Keene-Seastrand Oil Spill Prevention and Response
11                      Act – California Government Code § 8670.56.5)
12          86.    Plaintiffs CDFW, CDPR, CSLC, and UC refer to and incorporate by
13    reference as though fully set forth herein each and every foregoing Paragraph of
14    this Complaint.
15          87.    California Government Code Section 8670.56.5(a) provides that a
16    “responsible party, as defined in [California Government Code] Section 8670.3,
17    shall be absolutely liable without regard to fault for any damages incurred by any
18    injured person that arise out of, or are caused by, a spill.” Damages for which a
19    responsible party is liable include:
20                        a.     All costs of response, containment, cleanup, removal,
21                        and treatment;
22                        b.     Injury to, or economic losses resulting from destruction
23                        of or injury to, real or personal property;
24                        c.     Injury to, destruction of or loss of, natural resources,
25                        including the reasonable costs of assessing that injury,
26                        destruction, or loss;
27                        d.     Loss of use and enjoyment of natural resources, public
28                        beaches, and other public resources or facilities; and
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 1                         e.     Attorneys’ fees and costs of the suit, including the cost
 2                         of expert witnesses.
 3           88.    By virtue of the Refugio Incident, CDFW, CDPR, CSLC, and UC
 4    have assessed natural resource damages, including damages for injury to,
 5    destruction of or loss of natural resources under their trusteeship, and loss of use
 6    and enjoyment of natural resources, public beaches, and other public resources or
 7    facilities and continue to incur costs as a result of the Refugio Incident.
 8           89.    By virtue of the Refugio Incident, CDPR has incurred damages for
 9    injury to, or economic losses resulting from destruction of or injury to, real or
10    personal property.
11           90.    By virtue of the Refugio Incident, the CDFW, CDPR, CSLC, and
12    UC have incurred costs and damages within the meaning of California
13    Government Code Section 8670.56.5 and are thus entitled to recover these costs
14    and damages from Plains.
15                                        COUNT FIVE
16      (Penalties Under Lempert-Keene-Seastrand Oil Spill Prevention and Response
17                    Act – California Government Code § 8670.66(a)(3))
18           91.    Plaintiff CDFW refers to and incorporates by reference as though
19    fully set forth herein each and every foregoing Paragraph of this Complaint.
20           92.    California Government Code Section 8670.66(a)(3), provides that
21    any “person” who is “responsible for a spill” and acts “intentionally or
22    negligently . . . shall be subject to a civil penalty for a spill of not . . . more than
23    one million dollars ($1,000,000), for each violation, and each day or partial day
24    that a violation occurs is a separate violation.”
25           93.    Plains constitutes a “person” under California Government Code
26    Section 8670.3(t), which defines “person” to include a “trust, firm, joint stock
27    company, or corporation, . . . partnership, and association.”
28

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 1          94.     By virtue of the acts and omissions alleged in this Complaint, Plains
 2    is negligently responsible for the Refugio Incident. Accordingly, Plains is liable
 3    for civil penalties under California Government Code Section 8670.66(a).
 4                                       COUNT SIX
 5      (Penalties Under Lempert-Keene-Seastrand Oil Spill Prevention and Response
 6                     Act – California Government Code § 8670.66(b))
 7          95.     Plaintiff CDFW refers to and incorporates by reference as though
 8    fully set forth herein each and every foregoing Paragraph of this Complaint.
 9          96.     California Government Code Section 8670.66(b) provides that any
10    “person who intentionally or negligently violates any provision of [the Lempert-
11    Keene Act] . . . or any permit, rule, regulation, standard, or requirement issued or
12    adopted pursuant to those provisions, shall be liable for a civil penalty not to
13    exceed two hundred fifty thousand dollars ($250,000) for each violation of a
14    separate provision, or, for continuing violations, for each day that violation
15    continues.”
16          97.     California Government Code Section 8670.25.5(a)(1) provides that
17    “any party responsible for the discharge or threatened discharge of oil in waters
18    of the state shall report the discharge immediately to the Office of Emergency
19    Services.”
20          98.     At the time of the Refugio Incident, the notifications section of
21    Plains’ spill response plan incorporated the requirements set forth in California
22    Government Code Section 8670.25.5.
23          99.     By virtue of the acts and omissions alleged in this Complaint, Plains
24    intentionally or negligently violated provisions of the Lempert-Keene Act,
25    including California Government Code Section 8670.25.5. Accordingly, Plains
26    is liable for civil penalties under California Government Code Section
27    8670.66(b).
28

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 1                                     COUNT SEVEN
 2     (Civil Liability Under Porter-Cologne Water Pollution Control Act – California
 3                                   Water Code § 13350)
 4            100. Plaintiff CCRWQCB refers to and incorporates by reference as
 5    though fully set forth herein each and every foregoing Paragraph of this
 6    Complaint.
 7            101. California Water Code Section 13350(a)(3) provides in pertinent
 8    part that a “person who . . . causes or permits any oil or any residuary product of
 9    petroleum to be deposited in or on any of the waters of the state, except in
10    accordance with waste discharge requirements or other actions or provisions of
11    [Division 7 of the California Water Code], shall be liable civilly, and remedies
12    may be proposed, in accordance with subdivision (d) . . . .”
13            102. California Water Code Section 13350(d) provides that a court may
14    impose civil liability for a violation of Section 13350(a)(3) on a daily basis of no
15    more than $15,000 for each day the violation occurs or on a per gallon basis of no
16    more than $20 for each gallon of waste discharged.
17            103. California Water Code Section 13050(e) defines “waters of the
18    state” as “any surface water or groundwater, including saline waters, within the
19    boundaries of the state.”
20            104. By virtue of the Refugio Incident, Plains deposited oil into “waters
21    of the state” within the meaning of California Water Code Section 13050(e).
22    Plains’ depositing of oil was not in in accordance with waste discharge
23    requirements or other actions or provisions of Division 7 of the California Water
24    Code.
25            105. California Water Code Section 13350(g) provides that the California
26    Attorney General, “upon request of a regional board or the state board,” shall
27    seek recovery in court for violations of California Water Code Section 13350.
28    After providing notice to affected persons, the CCRWQCB held a hearing on
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 1    July 30, 2015 to consider authorizing the California Attorney General to seek
 2    civil penalties and other appropriate remedies judicially. The CCRWQCB then
 3    adopted Resolution No. R3-2015-0026, authorizing the California Attorney
 4    General to seek judicially imposed civil penalties under the California Water
 5    Code.
 6            106. By virtue of the Refugio Incident, Plains violated California Water
 7    Code Section 13350. Accordingly, Plains is civilly liable to the CCRWQCB.
 8                                     COUNT EIGHT
 9     (Civil Liability Under Porter-Cologne Water Pollution Control Act – California
10                                   Water Code § 13385)
11            107. Plaintiff CCRWQCB refers to and incorporates by reference as
12    though fully set forth herein each and every foregoing Paragraph of this
13    Complaint.
14            108. Section 13385(a)(4) of the California Water Code provides in
15    pertinent part that a “person” who violates an “order or prohibition issued
16    pursuant to Section 13243” of the California Water Code “shall be liable civilly.”
17            109. The Water Quality Control Plan: Ocean Waters of California
18    (“California Ocean Plan”) contains prohibitions issued pursuant to Section 13243
19    and was in effect at the time of the Refugio Incident. The California Ocean Plan
20    prohibits the discharge of waste to Areas of Special Biological Significance
21    (“ASBS”) except as provided in the California Ocean Plan’s Chapter III.E, which
22    governs the implementation provisions for marine managed areas. The Water
23    Quality Control Plan for the Central Coastal Basin (“Central Coastal Basin Plan”)
24    defines all of Santa Barbara County, including ocean waters within about one
25    nautical mile offshore, as an ASBS.
26            110. The Water Quality Control Plan for the Central Coastal Basin
27    (“Central Coastal Basin Plan”) contains prohibitions issued pursuant to Section
28    13243 and was in effect at the time of the Refugio Incident. The Central Coastal
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 1    Basin Plan incorporates the California Ocean Plan. The Central Coastal Basin
 2    Plan bars the discharge of oil or any residual products of petroleum to the waters
 3    of the state, except in accordance with waste discharge requirements or other
 4    provisions of Division 7 of the California Water Code. The Central Coastal
 5    Basin Plan also bars the discharge of waste that contains materials in
 6    concentrations that are hazardous to human, plant, animal, or aquatic life.
 7          111. By virtue of the Refugio Incident, Plains discharged oil into ASBS
 8    and discharged waste that contained materials in concentrations hazardous to
 9    human, plant, animal, or aquatic life. The discharge was not in accordance with
10    the exceptions provided in the California Ocean Plan’s Chapter III.E or with
11    waste discharge requirements or other provisions of Division 7 of the California
12    Water Code. Plains thereby violated prohibitions and requirements in both the
13    California Ocean Plan and Central Coastal Basin Plan.
14          112. Section 13385(b) of the California Water Code provides that a court
15    may impose civil liability either on a daily basis of no more than $25,000 for
16    each day the violation occurs or on a per gallon basis of $25 multiplied by the
17    number of gallons discharged but not cleaned up that exceeds 1,000 gallons.
18          113. By virtue of the Refugio Incident, Plains violated Section 13385 of
19    the California Water Code. Accordingly, Plains is civilly liable to the
20    CCRWQCB.
21                                        COUNT NINE
22            (Civil Penalties Under California Fish and Game Code § 5650.1)
23           114. Plaintiff CDFW refers to and incorporates by reference as though
24    fully set forth herein each and every foregoing Paragraph of this Complaint.
25           115. California Fish and Game Code Section 5650(a) provides in
26    pertinent part that it “is unlawful to deposit in, permit to pass into, or place where
27    it can pass into the waters of this state . . . (1) Any petroleum, . . . or residuary
28    product of petroleum, or carbonaceous material or substance” or “(6) Any
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 1    substance or material deleterious to fish, plant life, mammals, or bird life.”
 2              116. The oil released from the Refugio Incident constitutes a substance or
 3    material described in California Fish and Game Code Sections 5650(a)(1) and
 4    (a)(6).
 5              117. The areas into which the oil from the Refugio Incident were
 6    released, including the Culvert and the Pacific Ocean, constitute “waters of this
 7    state” or places where such oil can pass into the “waters of this state” within the
 8    meaning of California Fish and Game Code Section 89.1, which defines “waters
 9    of this state” to have the same meaning as “waters of the state” under California
10    Water Code Section 13050(e).
11              118. Under California Fish and Game Code section 5650.1, a “person
12    who violates Section 5650 is subject to a civil penalty of not more than $25,000
13    for each violation.”
14              119. Plains constitutes a “person” under California Fish and Game Code
15    Section 67, which defines “person” to include “any partnership, corporation,
16    limited liability company, trust, or other type of association.”
17              120. By virtue of the Refugio Incident, Plains is liable for civil penalties
18    under Fish and Game Code Section 5650.1.
19                                          COUNT TEN
20                  (Damages Under California Fish and Game Code § 12016)
21              121. Plaintiff CDFW refers to and incorporates by reference as though
22    fully set forth herein each and every foregoing Paragraph of this Complaint.
23              122. California Fish and Game Code Section 12016(a) provides that, in
24    “addition to any other provision of law, any person who discharges or deposits
25    any substance or material deleterious to fish, plant, bird, or animal life or their
26    habitat into, or which threatens to enter, the waters of this state is liable civilly to
27    the department for all actual damages to fish, plant, bird, or animal life or their
28    habitat and, in addition, for the reasonable costs incurred in cleaning up the
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 1    deleterious substance or material or abating its effects, or both.”
 2          123. The Refugio Incident caused actual damage to fish, plant, bird, or
 3    animal life or their habitat and caused CDFW to incur costs in cleaning up or
 4    abating the Refugio Incident’s effects.
 5          124.    By virtue of the Refugio Incident, Plains is liable for damages under
 6    California Fish and Game Code Section 12016(a).
 7                                    COUNT ELEVEN
 8                 (Damages Under California Fish and Game Code § 2014)
 9          125. Plaintiff CDFW refers to and incorporates by reference as though
10    fully set forth herein each and every foregoing Paragraph of this Complaint.
11          126. California Fish and Game Code Section 2014 provides that the
12    “state may recover damages in a civil action against any person or local agency
13    which unlawfully or negligently takes or destroys any bird, mammal, fish, reptile,
14    or amphibian protected by the laws of this state.”
15          127. By virtue of the acts and omissions alleged in this Complaint, Plains
16    is responsible for the unlawful take or destruction of birds, mammals, fish,
17    reptiles, or amphibians as a result of the Refugio Incident.
18          128. The birds, mammals, fish, reptiles, or amphibians harmed by the
19    Refugio Incident were protected by the laws of California, including the laws
20    identified in this Complaint.
21          129. By virtue of the Refugio Incident, Plains is liable for damages under
22    California Fish and Game Code Section 2014.
23                                    COUNT TWELVE
24         (Pipeline Safety Laws – Failure to Implement and Follow Plains’ IMP)
25          130. Plaintiff the United States refers to and incorporates by reference as
26    though fully set forth herein each and every foregoing Paragraph of this
27    Complaint.
28

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 1          131. Plains failed to implement and follow Plains’ IMP, as required by 49
 2    C.F.R. § 195.452(b)(5), as it related to Line 901 and Line 903. Each failure of
 3    Plains to implement a portion of Plains’ IMP constitutes a separate violation of
 4    49 C.F.R. § 195.452(b)(5), and was a contributing factor to the cause or severity
 5    of the Refugio Incident.
 6    A.    Plains’ IMP Implementation Violation Number One
 7          132. Plains violated 49 C.F.R. § 195.452(b)(5) by failing to implement
 8    and follow Section 5 of Plains’ IMP relating to the Baseline Assessment Plan, as
 9    required under 49 C.F.R. § 195.452(b)(2).
10    B.    Plains’ IMP Implementation Violation Number Two
11          133. Plains violated 49 C.F.R. § 195.452(b)(5) by failing to implement
12    and follow Section 7 of Plains’ IMP relating to methods for measuring the
13    program’s effectiveness by evaluating the performance of key IMP personnel, as
14    required under 49 C.F.R. § 195.452(f)(7).
15    C.    Plains’ IMP Implementation Violation Number Three
16          134. Plains violated 49 C.F.R. § 195.452(b)(5) by failing to implement
17    and follow Section 7 of Plains’ IMP relating to methods for measuring the
18    program’s effectiveness through Plains’ Integrity Management Board, as required
19    under 49 C.F.R. § 195.452(f)(7).
20    D.    Plains’ IMP Implementation Violation Number Four
21          135. Plains violated 49 C.F.R. § 195.452(b)(5) by failing to implement
22    and follow Section 9 of Plains’ IMP relating to a continual process of assessment
23    and evaluation. Specifically, Plains failed to reassess Line 901 based upon a risk-
24    based schedule, as required under 49 C.F.R. § 195.452(f)(5) and (j).
25    E.    Plains’ IMP Implementation Violation Number Five
26          136. Plains violated 49 C.F.R. § 195.452(b)(5) by failing to implement
27    and follow Section 12 of Plains’ IMP relating to the IMP evaluation process.
28    Plains failed to include methods to measure the effectiveness of the IMP.
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 1    Specifically, Plains failed to periodically conduct a review to determine whether
 2    Plains adhered to Integrity Management processes and procedures and whether
 3    Plains’ IMP had been effective, as required under 49 C.F.R. § 195.452(f)(7) and
 4    (k).
 5    F.      Plains’ IMP Implementation Violation Number Six
 6            137. Plains violated 49 C.F.R. § 195.452(b)(5) by failing to implement
 7    and follow Section 12 of Plains’ IMP relating to the IMP evaluation process.
 8    Specifically, Plains failed to implement a procedure for using Plains’ Integrity
 9    Management Board to annually evaluate the IMP’s effectiveness and to issue
10    written reports, as required under 49 C.F.R. § 195.452(f)(7) and (k).
11    G.      Plains’ IMP Implementation Violation Number Seven
12            138. Plains violated 49 C.F.R. § 195.452(b)(5) by failing to implement
13    and follow Section 12 of Plains’ IMP relating to the IMP evaluation process.
14    Specifically, Plains failed to implement procedures for using root-cause analyses
15    in Plains’ IMP, including non-injury or “near-miss” accidents, post-accident
16    reviews, emergency-response records and documentation, and failed-pipe
17    analyses, as required by 49 C.F.R. § 195.452(f)(7) and (k).
18                                   COUNT THIRTEEN
19         (Pipeline Safety Laws – Failure to Follow Recognized Industry Practices in
20                                 Carrying Out Plains’ IMP)
21            139. Plaintiff the United States refers to and incorporates by reference as
22    though fully set forth herein each and every foregoing Paragraph of this
23    Complaint.
24            140. Plains violated 49 C.F.R § 195.452(b)(6) by failing to adopt and
25    follow recognized industry practices, such as American Petroleum Institute,
26    Recommended Practice (“API RP”) 1160 (“Managing System Integrity for
27    Hazardous Liquid Pipelines”); API RP 1163 (“In-Line Inspection (‘ILI’) Systems
28    Qualification”); National Association of Corrosion Engineers Recommended
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 1    Practice 0102 (“In-Line Inspection of Pipelines”); and American Society for
 2    Nondestructive Testing, Inc. ILI-PQ (“In-line Inspection Personnel Qualification
 3    and Certification”) in its IMP procedures and failed to actually follow such
 4    practices for Line 901 and Line 903, and such a failure was a contributing factor
 5    to the cause or severity of the Refugio Incident.
 6                                   COUNT FOURTEEN
 7     (Pipeline Safety Laws – Failure to Set a Risk-Based Reassessment Schedule for
 8                            Line 901 and Line 903 in Plains’ IMP)
 9          141. Plaintiff the United States refers to and incorporates by reference as
10    though fully set forth herein each and every foregoing Paragraph of this
11    Complaint.
12          142. Plains violated 49 C.F.R § 195.452(e)(1) by failing to establish a
13    risk-based IMP reassessment schedule for Line 901 and Line 903 that properly
14    prioritized pipeline segments and included all relevant information, such as leak
15    history, repair history, cathodic-protection history, and corrosion under
16    insulation, and such a failure was a contributing factor to the cause or severity of
17    the Refugio Incident.
18                                    COUNT FIFTEEN
19       (Pipeline Safety Laws – Failure to Integrate into Plains’ IMP All Available
20                  Information About Integrity of Line 901 and Line 903)
21          143. Plaintiff the United States refers to and incorporates by reference as
22    though fully set forth herein each and every foregoing Paragraph of this
23    Complaint.
24          144. Plains violated 49 C.F.R. § 195.452(f)(3) by failing to perform an
25    analysis that integrated into Plains’ IMP all available information about the
26    integrity of Line 901 and Line 903 and such a failure was a contributing factor to
27    the cause or severity of the Refugio Incident.
28

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 1                                   COUNT SIXTEEN
 2         (Pipeline Safety Laws – Failure to Have Qualified Persons Review and
 3                   Evaluate Integrity Management Assessment Results)
 4          145. Plaintiff the United States refers to and incorporates by reference as
 5    though fully set forth herein each and every foregoing Paragraph of this
 6    Complaint.
 7          146. Plains violated 49 C.F.R. § 195.452(f)(8) by failing to include in
 8    Plains’ IMP a process for ensuring that integrity-assessment results and
 9    information analyses were conducted by persons qualified to evaluate such
10    results and information, and such a failure was a contributing factor to the cause
11    or severity of the Refugio Incident.
12                                 COUNT SEVENTEEN
13              (Pipeline Safety Laws – Failure to Analyze Available Data on
14                                  Line 901 and Line 903)
15          147. Plaintiff the United States refers to and incorporates by reference as
16    though fully set forth herein each and every foregoing Paragraph of this
17    Complaint.
18          148. Plains violated 49 C.F.R. § 195.452(g)(3) by failing to analyze data
19    gathered in conjunction with inspections, tests, surveillance and patrols, including
20    corrosion-control monitoring and cathodic-protection surveys, to assess the
21    integrity of each segment of Line 901 and Line 903, and such a failure was a
22    contributing factor to the cause or severity of the Refugio Incident.
23                                  COUNT EIGHTEEN
24     (Pipeline Safety Laws – Failure to Properly Develop a Leak-Detection System as
25            a Preventive and Mitigative Measure for Line 901 and Line 903)
26          149. Plaintiff the United States refers to and incorporates by reference as
27    though fully set forth herein each and every foregoing Paragraph of this
28    Complaint.
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 1          150. Plains violated 49 C.F.R. § 195.452(i)(3) by failing to properly
 2    develop a leak-detection system as a preventive and mitigative measure to
 3    mitigate the consequences of a pipeline failure that could affect HCAs in the
 4    vicinity of Line 901 and Line 903, and such a failure was a contributing factor to
 5    the cause or the severity of the Refugio Incident. Specifically, when developing
 6    Plains’ leak-detection system, Plains failed to properly evaluate the capability of
 7    Plains’ leak-detection means and to modify the system, as well as consider the
 8    length and size of the pipeline, the type of product carried, the swiftness of leak
 9    detection, risk-assessment results, and other factors that could affect leak
10    detection, including leaks on idled pipelines.
11                                  COUNT NINETEEN
12          (Pipeline Safety Laws – Failure to Evaluate Line 901 and Line 903 as
13                     Frequently as Needed to Ensure Their Integrity)
14          151. Plaintiff the United States refers to and incorporates by reference as
15    though fully set forth herein each and every foregoing Paragraph of this
16    Complaint.
17          152. Plains violated 49 C.F.R. § 195.452(j)(2) by failing to conduct
18    periodic evaluations of Line 901 and Line 903 as frequently as needed to ensure
19    pipeline integrity, and such a failure was a contributing factor to the cause or the
20    severity of the Refugio Incident. Specifically, Plains failed to base the frequency
21    of evaluations on risk factors specific to Line 901 and Line 903, including the
22    results of previous ILI surveys and confirmation digs, which should have resulted
23    in lowering the assessment cycle to a one-year rather than a three-year cycle.
24                                   COUNT TWENTY
25              (Pipeline Safety Laws – Failure to Maintain IMP Records for
26                                  Line 901 and Line 903)
27          153. Plaintiff the United States refers to and incorporates by reference as
28    though fully set forth herein each and every foregoing Paragraph of this
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 1    Complaint.
 2          154. Plains violated 49 C.F.R. § 195.452(l)(1)(ii) by failing to maintain
 3    and make available for inspection, for the useful life of Line 901 and Line 903,
 4    IMP pipeline records demonstrating compliance with 49 C.F.R. § 195.452.
 5    Plains failed to maintain and make available decisions and analyses, including
 6    modifications, justifications, deviations and determinations made, variances, and
 7    actions taken, to implement and evaluate Plains’ IMP.
 8                                 COUNT TWENTY-ONE
 9          (Pipeline Safety Laws – Failure to Make Non-Integrity Management
10                Repairs to Line 901 and Line 903 Within a Reasonable Time)
11          155. Plaintiff the United States refers to and incorporates by reference as
12    though fully set forth herein each and every foregoing Paragraph of this
13    Complaint.
14          156. Plains violated 49 C.F.R. § 195.401(b)(1) by failing to make
15    non-integrity management repairs to Line 901 and Line 903 within a reasonable
16    time after discovering that it could not cathodically protect Line 901 and Line
17    903 from external corrosion, and such a failure was a contributing factor to the
18    cause or the severity of the Refugio Incident.
19                                COUNT TWENTY-TWO
20           (Pipeline Safety Laws – Failure to Conduct Adequate Examinations
21                              of Exposed Portions of Line 901)
22          157. Plaintiff the United States refers to and incorporates by reference as
23    though fully set forth herein each and every foregoing Paragraph of this
24    Complaint.
25          158. Plains violated 49 C.F.R. § 195.569 by failing to conduct a proper
26    examination of portions of Line 901 that had been exposed for repairs, and such a
27    failure was a contributing factor to the cause or the severity of the Refugio
28    Incident.
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 1                              COUNT TWENTY-THREE
 2         (Pipeline Safety Laws – Failure to Report a Crude-Oil Release on Line
 3                         901 at the Earliest Practicable Moment)
 4          159. Plaintiff the United States refers to and incorporates by reference as
 5    though fully set forth herein each and every foregoing Paragraph of this
 6    Complaint.
 7          160. Plains violated 49 C.F.R. § 195.52(a)(4) by failing to give notice of
 8    the Refugio Incident to the National Response Center at the earliest practicable
 9    moment following Plains’ discovery of the Refugio Incident.
10                               COUNT TWENTY-FOUR
11        (Pipeline Safety Laws – Failure to Take Necessary Action to Minimize the
12                     Volume of Oil Released in the Refugio Incident)
13          161. Plaintiff the United States refers to and incorporates by reference as
14    though fully set forth herein each and every foregoing Paragraph of this
15    Complaint.
16          162. Plains violated 49 C.F.R. § 195.402(e)(4) by failing to take
17    necessary actions, as specified in Plains’ Emergency Response Procedures, to
18    isolate the ruptured pipeline segment for approximately three hours after the
19    Refugio Incident began.
20                                COUNT TWENTY-FIVE
21    (Pipeline Safety Laws – Failure to Update Plains’ Emergency-Response Training
22                   Program, as Necessary, to Ensure It Was Effective)
23          163. Plaintiff the United States refers to and incorporates by reference as
24    though fully set forth herein each and every foregoing Paragraph of this
25    Complaint.
26          164. Plains violated 49 C.F.R. § 195.403(b)(2) by failing to update and
27    make appropriate changes to Plains’ emergency-response training program, as
28    necessary, to ensure that it was effective, and such a failure was a contributing
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 1    factor to the cause or severity of the Refugio Incident. Specifically, Plains failed
 2    to update Plains’ training program to take into account changed conditions on
 3    Line 901 that allowed a direct pathway for crude oil to reach the Pacific Ocean in
 4    the event of a release.
 5                                 COUNT TWENTY-SIX
 6      (Pipeline Safety Laws – Failure to Conduct Facility Response Plan Training)
 7          165. Plaintiff the United States refers to and incorporates by reference as
 8    though fully set forth herein each and every foregoing Paragraph of this
 9    Complaint.
10          166. Plains violated 49 C.F.R. § 194.117(a)(3)(ii) by failing to conduct
11    training to ensure that personnel engaged in potential response activities along
12    Line 901 and Line 903 were aware of conditions that could potentially worsen
13    emergencies, including the consequences of facility malfunctions or failures, the
14    location of the Culvert, and appropriate corrective actions, and such a failure was
15    a contributing factor to the cause or severity of the Refugio Incident.
16                               COUNT TWENTY-SEVEN
17         (Pipeline Safety Laws – Failure to Require and Verify that Supervisors
18     Maintained a Thorough Knowledge of Plains’ Emergency-Response Procedures)
19          167. Plaintiff the United States refers to and incorporates by reference as
20    though fully set forth herein each and every foregoing Paragraph of this
21    Complaint.
22          168. Plains violated 49 C.F.R. § 195.403(c) by failing to require and
23    verify that Plains’ pipeline supervisors responsible for emergency response in the
24    area where Line 901 and Line 903 were located maintained a thorough
25    knowledge of that portion of Plains’ emergency-response procedures established
26    under 49 C.F.R. § 195.402 for which they were responsible to ensure compliance.
27
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 1                              COUNT TWENTY-EIGHT
 2            (Pipeline Safety Laws – Failure to Follow Plains’ Procedures for
 3                          Responding to Abnormal Operations)
 4          169. Plaintiff the United States refers to and incorporates by reference as
 5    though fully set forth herein each and every foregoing Paragraph of this
 6    Complaint.
 7          170. Plains violated 49 C.F.R. § 195.402(d)(1) by failing, on the day of
 8    the Refugio Incident, to follow Plains’ manual of written procedures for
 9    responding to abnormal operations on Line 901 and Line 903, and such a failure
10    was a contributing factor to the cause or severity of the Refugio Incident.
11    Specifically, Plains’ procedures required personnel to respond to, investigate, and
12    correct the causes of unintended valve closures, unintended pump shut-downs,
13    and other malfunctions that could exacerbate the consequences of a release.
14                               COUNT TWENTY-NINE
15      (Pipeline Safety Laws – Failure to Conduct an Analysis of the Cause(s) of the
16     Refugio Incident and to Minimize a Recurrence, or, Alternatively, to Provide the
17                                   Analysis to PHMSA)
18          171. Plaintiff the United States refers to and incorporates by reference as
19    though fully set forth herein each and every foregoing Paragraph of this
20    Complaint.
21          172. Plains violated 49 C.F.R. § 195.402(c)(5) and (6) by failing to
22    follow Plains’ IMP requirement that Plains analyze the cause(s) of the Refugio
23    Incident and minimize the possibility of a recurrence. Despite requests from
24    PHMSA for a copy of this analysis under PHMSA’s August 19, 2015 RFI and
25    PHMSA’s First Subpoena, Plains failed to produce this analysis.
26          173. In the alternative, if Plains performed the analysis described in the
27    preceding Paragraph but failed to provide it to PHMSA, then Plains violated 49
28    C.F.R. § 195.60 by failing to make available to PHMSA all records and
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 1    information that pertain in any way to the Refugio Incident, and by failing to
 2    afford all reasonable assistance to PHMSA in its Refugio Incident investigation.
 3                                    COUNT THIRTY
 4        (Pipeline Safety Laws – Failure to Make Appropriate Changes to Plains’
 5                Control-Room Procedures Applicable to Lines 901 and 903 to
 6                                Ensure They Were Effective)
 7          174. Plaintiff the United States refers to and incorporates by reference as
 8    though fully set forth herein each and every foregoing Paragraph of this
 9    Complaint.
10          175. Plains violated 49 C.F.R. § 195.402(a) by failing to make
11    appropriate changes as necessary to ensure the effectiveness of Plains’ Master
12    Control Room (“CR”) procedures. Prior to the Refugio Incident, Plains
13    identified specific changes that were needed in Plains’ CR procedures but failed
14    to revise them in a timely manner to ensure that they were effective.
15                                 COUNT THIRTY-ONE
16       (Pipeline Safety Laws – Failure to Follow Plains’ Procedures for Inhibiting
17                                   Control-Room Alarms)
18          176. Plaintiff the United States refers to and incorporates by reference as
19    though fully set forth herein each and every foregoing Paragraph of this
20    Complaint.
21          177. Plains violated 49 C.F.R. § 195.402(a) by failing to follow Plains’
22    own written procedures for inhibiting CR alarms. Plains’ control-room
23    supervisors failed to consult with and obtain the approval of console supervisors
24    before inhibiting the Line 901 alarms on the day of the Refugio Incident, and
25    such a failure was a contributing factor to the cause or severity of the Refugio
26    Incident.
27
28

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 1                                COUNT THIRTY-TWO
 2     (Pipeline Safety Laws – Failure to Ensure Control-Room Alarms Were Accurate
 3    and Set at Values Sufficient to Support Safe Pipeline Operations for Line 901 and
 4                                         Line 903)
 5          178. Plaintiff the United States refers to and incorporates by reference as
 6    though fully set forth herein each and every foregoing Paragraph of this
 7    Complaint.
 8          179. Plains violated 49 C.F.R. § 195.446(e)(1) by failing to follow Plains’
 9    alarm management plan to ensure effective controller responses to alarms on
10    Line 901 and Line 903, and such a failure was a contributing factor to the cause
11    or severity of the Refugio Incident. Specifically, Plains failed to set CR alarms
12    accurately and effectively so that controllers could effectively identify potential
13    crude-oil releases and take steps to minimize them.
14                               COUNT THIRTY-THREE
15         (Pipeline Safety Laws – Failure to Verify Correct Safety-Related Alarm
16                        Set-Point Values and Alarm Descriptions)
17          180. Plaintiff the United States refers to and incorporates by reference as
18    though fully set forth herein each and every foregoing Paragraph of this
19    Complaint.
20          181. Plains violated 49 C.F.R. § 195.446(e)(3) by failing to verify that
21    Plains’ alarm management plan used the correct safety-related alarm set-point
22    values and alarm descriptions on Line 901 and Line 903.
23                                COUNT THIRTY-FOUR
24      (Pipeline Safety Laws – Failure to Review the Refugio Incident to Determine If
25            Master Control-Room Actions Contributed to the Event and, If So,
26             Whether They Were Corrected or, Alternatively, to Provide the
27                                   Analysis to PHMSA)
28          182. Plaintiff the United States refers to and incorporates by reference as
                   United States of America and the People of the State of California v.
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 1    though fully set forth herein each and every foregoing Paragraph of this
 2    Complaint.
 3          183. Plains violated 49 C.F.R. § 195.446(g)(1) by failing to review the
 4    Refugio Incident to determine if CR actions contributed to the Refugio Incident
 5    and, if so, correct deficiencies related to: controller fatigue; field equipment; the
 6    operation of relief devices; control-room procedures; supervisory control and
 7    data acquisition (SCADA) system configuration; or SCADA system
 8    performance. Despite requests from PHMSA for a copy of this analysis under
 9    PHMSA’s August 19, 2015 and September 1, 2016 RFIs, PHMSA’s First
10    Subpoena, and PHMSA’s Second Subpoena, Plains failed to produce this
11    analysis.
12          184. In the alternative, if Plains performed the analysis described in the
13    preceding Paragraph but failed to provide it to PHMSA, then Plains violated 49
14    C.F.R. § 195.60 by failing to make available to PHMSA all records and
15    information that pertain in any way to the Refugio Incident, and by failing to
16    afford all reasonable assistance to PHMSA in its Refugio Incident investigation.
17                                 COUNT THIRTY-FIVE
18     (Pipeline Safety Laws – Failure of Field Personnel to Follow Plains’ Procedures
19      to Contact the Control Room When Conducting Operations That Could Affect
20                                 Control-Room Operations)
21          185. Plaintiff the United States refers to and incorporates by reference as
22    though fully set forth herein each and every foregoing Paragraph of this
23    Complaint.
24          186. Plains violated 49 C.F.R. § 195.446(f)(2) by failing to follow CR
25    procedures when making field changes on Line 903 that could affect CR
26    operations.
27
28

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 1                                 COUNT THIRTY-SIX
 2     (Pipeline Safety Laws – Failure to Maintain Valves Necessary for Safe Pipeline
 3                 Operations to Be in Good Working Order at All Times)
 4          187. Plaintiff the United States refers to and incorporates by reference as
 5    though fully set forth herein each and every foregoing Paragraph of this
 6    Complaint.
 7          188. Plains violated 49 C.F.R. § 195.420(a) by failing to maintain valves
 8    necessary for the safe operation of Line 901 and Line 903.
 9                               COUNT THIRTY-SEVEN
10         (Pipeline Safety Laws – Failure to Conduct All Required Post-Accident
11                      Drug Testing Following the Refugio Incident)
12          189. Plaintiff the United States refers to and incorporates by reference as
13    though fully set forth herein each and every foregoing Paragraph of this
14    Complaint.
15          190. Plains violated 49 C.F.R. § 199.105(b) by failing to drug test each
16    covered employee whose performance of a covered function either contributed to
17    the Refugio Incident or could not be completely discounted as a contributing
18    factor to the Refugio Incident.
19                               COUNT THIRTY-EIGHT
20         (Pipeline Safety Laws – Failure to Conduct All Required Post-Accident
21                     Alcohol Testing Following the Refugio Incident)
22          191. Plaintiff the United States refers to and incorporates by reference as
23    though fully set forth herein each and every foregoing Paragraph of this
24    Complaint.
25          192. Plains violated 49 C.F.R. § 199.225(a) by failing to alcohol test each
26    covered employee whose performance of a covered function either contributed to
27    the Refugio Incident or could not be completely discounted as a contributing
28    factor to the Refugio Incident.
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 1                                COUNT THIRTY-NINE
 2     (Pipeline Safety Laws – Failure to Comply with PHMSA’s Subpoenas to Plains
 3                     Seeking Compliance with Information Requests)
 4          193. Plaintiff the United States refers to and incorporates by reference as
 5    though fully set forth herein each and every foregoing Paragraph of this
 6    Complaint.
 7          194. Plains violated 49 U.S.C. § 60117 and 49 C.F.R. §§ 190.7 and
 8    190.203(c) by failing to comply with PHMSA’s First Subpoena and PHMSA’s
 9    Second Subpoena.
10                                    COUNT FORTY
11          (Pipeline Safety Laws – Failure to Provide All Reasonable Assistance
12                    in PHMSA’s Investigation of the Refugio Incident)
13          195. Plaintiff the United States refers to and incorporates by reference as
14    though fully set forth herein each and every foregoing Paragraph of this
15    Complaint.
16          196. Plains: a) failed to adequately respond to PHMSA’s First Subpoena
17    and PHMSA’s Second Subpoena; b) refused to allow one or more of Plains’
18    personnel to be interviewed by PHMSA representatives regarding the Refugio
19    Incident; c) failed to conduct or provide PHMSA a post-Refugio Incident report;
20    and d) failed to provide other documents and information.
21          197. Plains violated 49 C.F.R. § 190.203(e) by failing to provide all
22    reasonable assistance in the investigation of the Refugio Incident.
23          198. Plains violated 49 C.F.R. § 190.203(e) by failing to make available
24    to PHMSA all records and information that pertained to the Refugio Incident.
25          199. Plains violated 49 C.F.R. § 190.203(e) by obstructing an inspection
26    and investigation of the Refugio Incident by taking actions that were known or
27    reasonably should have been known to prevent, hinder, or impede the Refugio
28    Incident investigation without good cause.
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 1                                  COUNT FORTY-ONE
 2       (Penalties Under Elder California Pipeline Safety Act of 1981 – California
 3                               Government Code § 51018.6)
 4          200. Plaintiff OSFM refers to and incorporates by reference as though
 5    fully set forth herein each and every foregoing Paragraph of this Complaint.
 6          201. Prior to the Refugio Incident and continuing through the present day,
 7    Line 2000 was and is an “intrastate pipeline” within the meaning of California
 8    Government Code Section 51010.5(a). In approximately February 2016, Line
 9    901 became an “intrastate pipeline” within the meaning of California
10    Government Code Section 51010.5(a). In approximately April 2016, Line 903
11    became an “intrastate pipeline” within the meaning of California Government
12    Code Section 51010.5(a).
13          202. As intrastate pipelines, Lines 901, 903, and 2000 are subject to the
14    regulatory authority of the OSFM.
15          203. Lines 901, 903, and 2000 were constructed after January 1, 1984
16    and, at all times relevant to this Complaint, normally operated under conditions
17    of constant flow and pressure.
18          204. Intrastate pipelines must adhere to federal regulations adopted
19    pursuant to California Government Code Section 51011, which provides that
20    OSFM will “adopt hazardous liquid pipeline safety regulations in compliance
21    with the federal law relating to hazardous liquid pipeline safety.” OSFM’s
22    adoption of Title 49, Sections 195.401, 195.402, 195.563 of the Code of Federal
23    Regulation, which govern procedures and methods of operation for pipelines and
24    valves, including those applicable to cathodic protection, is reflected in Title 19,
25    Section 2000 of the California Code of Regulations, which provides that “Title
26    49 of the Code of Federal Regulations, Part 195 is hereby adopted by reference as
27    it relates to hazardous liquid pipelines.”
28

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 1           205. California Government Code Section 51012.3(a) requires every
 2    operator of pipelines such as Lines 901, 903, and 2000 to conform to federal
 3    regulations in Subparts A to F, inclusive, of Part 195 of Title 49 of the Code of
 4    Federal Regulations pursuant to the schedule set forth therein. California
 5    Government Code Section 51012.3(a)(1) provides in pertinent part that, for
 6    pipelines constructed after January 1, 1984, “the pipeline operator shall meet the
 7    requirements of subsection (c) of Section 195.401 of Title 49 of the Code of
 8    Federal Regulations . . .” California Government Code Section 51012.3(a)(2)
 9    provides in pertinent part that “[o]perators of intrastate pipelines subject to
10    federal regulation . . . shall meet the requirements of Section 195.402 of Title 49
11    of the Code of Federal Regulations on or before April 23, 1987.” California
12    Government Code Section 51012.3(a)(3) provides that, pursuant to a schedule
13    commencing on October 21, 1986 and ending on October 19, 1988, pipelines
14    such as Lines 901, 903, and 2000 “shall meet the cathodic protections
15    requirements of subdivision (a) of Section 195.414 of Title 49 of the Code of
16    Federal Regulations . . .”
17           206. California Government Code Section 51013(a) provides in pertinent
18    part that “[a]ny new pipeline constructed after January 1, 1984, and which
19    normally operates under conditions of constant flow and pressure, shall be
20    designed and constructed in accordance with Subparts C and D of Part 195 of
21    Title 49 of the Code of Federal Regulations, and shall include a means of leak
22    detection and cathodic protection which the [OSFM] determines is acceptable, . .
23    . .”
24           207. At all times relevant to this Complaint and through and including
25    January 27, 2019, Lines 901, 903, and 2000 were equipped with cathodic
26    protection that was ineffective and inadequate for reasons such as elevated
27    temperatures, disbonded coatings, thermal insulating coatings, and shielding.
28    The cathodic protection of Lines 901, 903, and 2000 therefore failed to comply
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 1    with Title 49, Section 195.563 of the Code of Federal Regulation and which
 2    OSFM had not determined to be acceptable. Accordingly, OSFM determined
 3    that Plains violated Title 19, Section 2000 of the California Code of Regulations
 4    and California Government Code Sections 51012.3(a)(3) and 51013(a) through
 5    and including January 27, 2019.
 6          208. As alleged above, at all times relevant to this Complaint, Plains did
 7    not have an adequate Integrity Management Plan applicable to Lines 901, 903
 8    and 2000. In addition, Plains did not have in place and did not follow acceptable
 9    procedures for pipeline and valve operations. Accordingly, Plains failed to
10    comply with Sections 195.401 and 195.402 of the Code of Federal Regulations
11    pursuant to the schedule set forth in California Government Code Sections
12    51012.3(a)(1) and 51012.3(a)(2).
13          209. California Government Code Section 51018(a) provides: “Every
14    rupture, explosion, or fire involving a pipeline, including a pipeline system
15    otherwise exempted by subdivision (a) of Section 51010.5, and including a
16    pipeline undergoing testing, shall be immediately reported by the pipeline
17    operator to the fire department having fire suppression responsibilities and to the
18    California Emergency Management Agency.” Plains waited more than 80
19    minutes to notify the California Emergency Management Agency of the Refugio
20    Incident, thereby violating California Government Code Section 51018(a) by
21    failing to provide immediate notification.
22          210. California Government Code Section 51018.6(b) provides that a
23    “person” who the OSFM has determined “violated this chapter or any regulation
24    adopted pursuant thereto . . . is subject to a civil penalty of not more than two
25    hundred thousand dollars for each day that violation persists, except that the
26    maximum civil penalty shall not exceed two million dollars for any related series
27    of violations.” California Government Code Section 51018.6(d) provides that a
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 1    “civil penalty assessed under subdivision (b) may be recovered in an action
 2    brought by the Attorney General on behalf of the state.”
 3          211. Plains constitutes a “person” under California Government Code
 4    Section 17, which defines “person” to include a “firm, association, organization,
 5    partnership, limited liability company, business trust, corporation, or company.”
 6          212. By virtue of the abovementioned violations, Plains is liable for civil
 7    penalties under California Government Code Section 51018.6(b).
 8                                 PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiffs pray that the Court:
10          A.     Issue an order requiring Plains to take all appropriate action to
11    prevent future discharges of oil into waters of the United States, waters of the
12    State of California, and adjoining shorelines;
13          B.     Issue an order enjoining Plains from operating a pipeline without
14    taking adequate measures to ensure safety and protection of the environment;
15          C.     Issue an order enjoining Plains from operating a pipeline without
16    adequate measures to ensure compliance with the Pipeline Safety Laws;
17          D.     Issue an order enjoining Plains from operating a pipeline without
18    adequate measures to ensure compliance with the Elder California Pipeline
19    Safety Act of 1981;
20          E.     Under the CWA, enter judgment against Plains and award the
21    United States civil penalties in an amount up to $2,100 per barrel of oil
22    discharged by the Refugio Incident, or, if it is established that the discharges
23    were the result of gross negligence or willful misconduct, in an amount up to
24    $5,300 per barrel of oil discharged;
25          F.     Under OPA, enter judgment against Plains and award the United
26    States, CDFW, and CDPR damages for, inter alia, injuries to, destruction of, and
27    loss of natural resources, including the reasonable costs of assessing the damage;
28          G.     Under OPA, enter judgment against Plains and award CDPR
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 1    damages for, inter alia, lost revenues and/or lost profits resulting from the closure
 2    of CDPR state beaches, including Refugio State Beach and El Capitan State
 3    Beach, as well as the destruction of CDPR property;
 4          H.     Under California Government Code Section 8670.56.5, enter
 5    judgment against Plains and award CDFW, CDPR, CSLC, and UC costs and
 6    damages, including natural resource damages;
 7          I.     Under California Government Code Section 8670.66(a), enter
 8    judgment against Plains and award CDFW civil penalties in an amount up to
 9    $1,000,000 per violation;
10          J.     Under California Government Code Section 8670.66(b), enter
11    judgment against Plains and award CDFW civil penalties in an amount up to
12    $250,000 per violation;
13          K.     Enter judgment against Plains and award CCRWQCB civil penalties
14    in an amount up to $20 per gallon discharged or up to $15,000 per day of
15    violation (whichever is greater) for violations of California Water Code Section
16    13350, or in the alternative, civil penalties in an amount up to $25,000 per day of
17    violation plus $25 per gallon of waste discharged in excess of 1,000 gallons not
18    cleaned up pursuant to California Water Code section 13385;
19          L.     Under California Fish and Game Code Section 5650, enter judgment
20    against Plains and award CDFW civil penalties in an amount up to $25,000 per
21    violation;
22          M.     Under California Fish and Game Code Section 12016, enter
23    judgment against Plains and award CDFW all actual damages to fish, plant, bird,
24    or animal life, or their habitat and reasonable cost incurred in cleaning up the
25    deleterious substance or material or abating its effects;
26          N.     Under California Fish and Game Code Section 2014, enter judgment
27    against Plains and award CDFW damages in an amount that will compensate for
28    all detriment proximately caused by the destruction of birds, mammals, fish,
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 1    reptiles, or amphibians;
 2          O.     Under California Government Code Section 51018.6, enter
 3    judgment against Plains and award OSFM civil penalties;
 4          P.     Under the Pipeline Safety Laws, enter judgment against Plains and
 5    award the United States civil penalties;
 6          Q.     Award CDFW and CCRWQCB all their costs, attorneys’ fees, and
 7    expert fees as authorized by law, including but not limited to those allowed
 8    pursuant to California Code of Civil Procedure Section 1021.8;
 9          R.     Require Plains to comply with all reporting requirements,
10    information requests, and subpoenas issued by the United States; and
11          S.     Grant such other and further relief as the Court deems just and
12    proper.
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 1       Respectfully submitted this 13th day of March 2020.
 2
 3    FOR THE UNITED STATES:
 4
 5                                         BRUCE S. GELBER
 6                                         Deputy Assistant Attorney General
 7                                         Environment and Natural Resources
                                           Division
 8
 9                                         By: /s/ Bradley R. O'Brien
                                           BRADLEY R. O’BRIEN
10
                                           Senior Attorney
11                                         ANGELA MO
12
                                           Trial Attorney
                                           Environmental Enforcement Section
13                                         United States Department of Justice
14                                         Counsel for Plaintiff United States of
                                           America
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   FOR THE CALIFORNIA DEPARTMENT OF FISH AND WILDLIFE,
 2 CENTRAL COAST REGIONAL WATER QUALITY CONTROL BOARD,
   AND CALIFORNIA DEPARTMENT OF FORESTRY AND FIRE
 3 PROTECTION'S OFFICE OF STATE FIRE MARSHAL:
 4
 5
                                       XAVIER BECERRA
 6                                     Attorney General of California
 7
                                       By:
 8                                     MICHAEL        RRO
 9                                     JESSICA BARCLAY-STROBEL
                                       Deputy Attorneys General
10
                                       Counselfog Plaintiffs California
11                                     Department ofFish and Wildlife, Central
12                                     Coast Regional Water Quality Control
                                       Board, and California Department of
13                                     Forestry and Fire Protection 's Office of
14                                     State Fire Marshal
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 1     FOR THE CALIFORNIA DEPARTMENT OF PARKS AND RECREATION
 2     AND CALIFORNIA STATE LANDS COMMISSION:

 3
 4                                          XAVIER BECERRA
                                            Attorney General of California
 5

 6
 7
                                            MITCHELL RISHE
                                            NICOLE RINKE
 8                                          Deputy Attorneys General
 9                                          Counselfor Plaintiffs California
                                            Department ofParks and Recreation and
10
                                            California State Lands Commission
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